Case 20-06041-sms     Doc 12   Filed 05/22/20 Entered 05/22/20 12:45:12       Desc Main
                               Document     Page 1 of 5




                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


IN RE:                                                Chapter 13

ALEXANDER ELLIOTT KAHN and                            Case No. 19-67743-SMS
KATHERINE ELIZABETH KAHN




COLLETTE MCDONALD and                                 Adversary Proceeding
COLLETTE MCDONALD & ASSOCIATES,
LLC,                                                  Case No.: 20-06041-SMS

      PLAINTIFFS,

v.

ALEXANDER ELLIOTT KAHN,

      DEFENDANT.



                     REPORT OF RULE 26(f) CONFERENCE
       The conference held pursuant to FED. R. CIV. P. 26(f) and BLR 7016-1 on May

 12, 2020, which was attended by:


       For Plaintiff: Deborah Shelles Cameron, Esq.


       For Defendant: Michael R. Rethinger, Esq.
Case 20-06041-sms     Doc 12    Filed 05/22/20 Entered 05/22/20 12:45:12       Desc Main
                                Document     Page 2 of 5




       1. Initial Disclosures. (Include one or more of the following, modified as
       appropriate.)

       [X]    The parties will make the initial disclosures required by FED. R. CIV. P.
              26(a)(1) by May 26, 2020.

       []     The parties agree to provide disclosures as follows [or as shown on the
       attached exhibit


       []     The parties have agreed not to make initial disclosures and to waive the
              requirements of FED. R. CIV. P. 26(a)(1) with regard to same.

       2. Discovery Plan. The parties jointly propose to the Court that discovery shall be
 completed by October 30, 2020, as further shown on the attached exhibit, subject to
 modification by the Court with the consent of the parties or for good cause shown.

       3. Other items. [Use separate paragraphs or subparagraphs as necessary if parties
       disagree.]

       (a) The parties shall submit a consolidated pretrial order no later than November
 30, 2020.


        (b) Unless further ordered by the Court, Plaintiff will be allowed until May 26,
 2020 to join additional parties and until May 26, 2020 to amend the pleadings.


        (c) Unless further ordered by the Court, Defendant will be allowed until June 9,
 2020 to join additional parties and until June 9, 2020 to amend the pleadings.

        (d) All dispositive motions, including Motions for Summary Judgment, will be
 filed by November 30, 2020.

       4. Settlement Potential.

       (a) The parties [X] have [ ] have not discussed settlement.
        (b) The parties [X] do [ ] do not intend to hold additional settlement conferences
 among themselves prior to the close of discovery. The proposed date of the next
 settlement conference is Undetermined at this time.



                                            2
Case 20-06041-sms        Doc 12   Filed 05/22/20 Entered 05/22/20 12:45:12           Desc Main
                                  Document     Page 3 of 5




        (c) The parties [ ] have [X] have not considered alternative dispute resolution.

        (d) Settlement prospects may be enhanced by one of the following alternative
 dispute resolution procedures [check applicable boxes]: [ ] Mediation; [ ] Judicial
 settlement conference; [ ] Early neutral evaluation; [ ] Other

        5. Identify any other matters regarding this Court’s authority or jurisdiction,
 discovery or case management that may require the Court’s attention (e.g., concerns
 about confidentiality; the need for protective orders; unmovable scheduling conflicts). If
 this is not a core proceeding, do the parties consent to this Court entering a final
 judgment on any non-core matters in the proceeding? ________________

        6. Any other matters not covered above:


        7. Whether the parties [ ] do [X ] do not request a conference with the court prior
 to entry of the scheduling order. Any such conference may be [ ]by telephone [ ]in
 chambers [ ] in court.


 /s/ Deborah Shelles Cameron                     /s/ Michael R. Rethinger
 Lawrence B. Domenico, Esq.                      Michael R. Rethinger, Esq.
 Georgia Bar No. 003260                          Georgia Bar No. 301215
 Deborah Shelles Cameron, Esq.                   (by Deborah Shelles Cameron with express
 Georgia Bar No. 105369                          permission)
 Mozley, Finlayson & Loggins LLP                 Law Office of Michael R. Rethinger
 1050 Crown Pointe Parkway, Suite 1500           50 Hurt Plaza, SE, Suite 1150
                                                 Atlanta, Georgia 30303
 Atlanta, Georgia 30338                          T: 770.922.0066
 dcameron@mfllaw.com                             michael@rethingerlaw.com
 T: 404.256.0700
 ldomenico@mfllaw.com                            Counsel for Defendant
 dcameron@mfllaw.com

 Counsel for Plaintiff




                                             3
Case 20-06041-sms       Doc 12   Filed 05/22/20 Entered 05/22/20 12:45:12          Desc Main
                                 Document     Page 4 of 5




                       Exhibit to Report of Rule 26(f) Conference
                                 1.   Initial Disclosures

        The parties agree to provide initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1)
 as follows [Describe the agreement concerning initial disclosures, including what
 information will be disclosed and at what time]:

       (a)     Plaintiff’s disclosures: Initial disclosures as set forth in Appendix B of the
 U.S. District Court Rules, Northern District of Georgia. Disclosures shall be made by
 May 26, 2020.

       (b)    Defendant’s disclosures: Initial disclosures as set forth in Appendix B of
 the U.S. District Court Rules, Northern District of Georgia. Disclosures shall be made
 by May 26, 2020.

                                   2.     Discovery Plan
 (Modify as appropriate; use separate paragraphs or subparagraphs as necessary if the
 parties disagree.)

       (a) Discovery will be needed on the following subjects: Liability, damages,
 breach of fiduciary duty, issues relating to dischargeability of Plaintiff’s claim

        (b) All discovery will be commenced in time to be completed by _October 30,
 2020. Discovery on                 N/A                  [Describe any subjects on which
 early discovery will be needed, if applicable] will be completed by .
        (c) Each party may propound a maximum of 25 interrogatories to any other
 party. Responses to interrogatories are due 30 days after service by email.
         (d) Each party may submit a maximum of 25 requests for production of
 documents to any other party. Objections to production of documents are due 30 days
 after service by email.
        (e) Each party may submit a maximum of 25_ requests for admission to any
 other party. Responses to requests for admission due 30 days after service by email.
       (f) Depositions shall be limited to 5 depositions by plaintiff and 5 depositions by
 defendant.

                                              4
Case 20-06041-sms     Doc 12   Filed 05/22/20 Entered 05/22/20 12:45:12       Desc Main
                               Document     Page 5 of 5




       (g) Each deposition is limited to a maximum number of 7 hours unless extended by
 agreement of the parties, except for the depositions of N/A.
         (h) Reports from retained experts under FED. R. CIV. P. 26(a)(2) are due from
 plaintiff by August 31, 2020 and from defendant by September 30, 2020.
         (i) Supplementations under FED. R. CIV. P. 26(e) due as follows: within 10 days
 of knowledge of need to supplement, and no later than submission of consolidated pre-
 trial order.




                                           5
